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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
UNITED STATES OF AMERICA
v Cr. No. 01-20017-D
LEE WAYNE CHAMPION
ORDER REVOKING BOND

This cause came on to be heard on 05/05/05, pursuant to a petition for revocation of bond
filed by the United States Probation Office, alleging violation of the conditions of the defendant's
supervised release. The defendant admitted the allegations and the court determined that the
conditions of the defendant's release had been violated; therefore, it is ORDERED that the
defendant's bond be and hereby is revoked. The defendant will be held in custody pending the
a final revocation hearing

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

DATE: 277¢7 59 ZM)/

      
    

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Honorable Bernice Donald
US DISTRICT COURT

